Case 2:24-cv-12962-GAD-EAS ECF No. 75-3, PagelD.5396 Filed 02/21/25 Page 1of1

STATE OF MICHIGAN MOTION TO CHANGE CASE NO.
SIXTH JUDICIAL CIRCUIT SUPPORT ORDER ee ee Sy
FAMILY DIVISION (FOC REFEREE HEARING ONLY) | ~2 x0 -¥ xO / 7 F- LX

Court Address, 230 Elizabeth Lake, PO Box 436012, Pontiac, Ml 48343-6012 Telephone No: (248) 858-0424; “FAX No: (348) 858-0461

PLEASE PRINT OR TYPE INFORMATION | $60.00 Filing Fee

Plaintiffs Name, Address, Email & Telephone No. Defendant's Name, Address, Email & Telephone No.
Matthew W- Oliver Shari Lynn Oliver
H4%S06 Chester fied br. vl 1@Q N- Castie Dr.

Sterting Herqhts Ar 4933 Cedar City UT S4HU7ZC

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L, Wei ie state:

‘Name of party filing petition

ee ee the [_ plaintiff eetencont is currently ordered to pay support in the amount of
/ ere {4 4 Cl Ldn fi
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aoe per Le} fe]
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2. Circumstances and/or financial conditions have changed as follows:
Apase re - Open Child Support CASE
Hours at Work have been cut, requesting
CupPortr from Chat “1 CoH VEr, oie hac Q

Masters Degree ana is finan cit ly Capakle.,
3. The support order be cae [_] decreased in the amount the court finds fair and

equitable. '

f.=4
hil

| declare that the above statements are true to the in rue ation,and belief.

Tue Ale LL AL

jv

Date sieht i cee aa Motion

FW

MTC —MOTION TO CHANGE SUPPORT ORDER FOC 2 — (effective 5/2022
